Case 3:24-md-03114-E     Document 44      Filed 06/20/25   Page 1 of 19   PageID 287



                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

IN RE: AT&T INC. CUSTOMER DATA
SECURITY BREACH LITIGATION                           Case No. 3:24-cv-00757-E

                                                   MDL DOCKET NO. 3:24-md-
This Document Relates to All Cases                        03114-E

                     PRELIMINARY APPROVAL ORDER

      WHEREAS, this Action 1 is a putative class action before this Court;

      WHEREAS, Plaintiffs, individually, and on behalf of the proposed Settlement

Classes, and AT&T have entered into the Settlement Agreement, which is subject to

review and approval by the Court under Federal Rule of Civil Procedure 23, and

which, together with its exhibits, provides for a complete dismissal on the merits and

with prejudice of the claims asserted in the Action against AT&T should the Court

grant Final Approval of the Settlement;

      WHEREAS, Plaintiffs filed an unopposed motion requesting entry of an order

to: (1) conditionally certify the Settlement Classes; (2) appoint Plaintiffs as Class

Representatives; (3) appoint W. Mark Lanier, Chris Seeger, Shauna Itri, Jean Martin,

James Cecchi, and Sean Modjarrad as AT&T 1 Class Counsel, and J. Devlan

Geddes, Raph Graybill, John Heenan, Jeff Ostrow, and Jason S. Rathod as AT&T 2


1
  The capitalized terms herein have the same meanings as those defined in Section
II of the Settlement Agreement, a copy of which is attached to the Motion for
Preliminary Approval as Exhibit A.

PRELIMINARY APPROVAL ORDER                                                  Page 1 of 19
Case 3:24-md-03114-E     Document 44      Filed 06/20/25   Page 2 of 19    PageID 288



Class Counsel; (4) preliminarily approve the Settlement; (5) approve the Notice

Program and Notices and direct that Notice be sent to the Settlement Classes; (6)

approve the Claim Form and Claims Process; (7) approve the Settlement’s opt-out

and objection procedures; (8) appoint Kroll Settlement Administration, LLC, as the

Settlement Administrator; (9) stay all deadlines in the Action pending Final

Approval of the Settlement; (10) enjoin and bar all members of the Settlement

Classes from initiating or continuing in any litigation or arbitration or asserting any

claims against AT&T and the Released Parties arising out of, relating to, or in

connection with the Released Claims prior to the Court’s decision to grant Final

Approval of the Settlement; and (11) set a date for the Final Approval Hearing; and

      WHEREAS, the Court having reviewed the Motion along with the Settlement

and its exhibits, finds that substantial and efficient grounds exist for entering this

Preliminary Approval Order granting the relief requested.

      NOW, THEREFORE, IT IS HEREBY ORDERED:

      1.     Settlement Class Certification: Pursuant to Federal Rules of Civil

Procedure Rules 23(a), 23(b)(3), and 23(e), and for purposes of settlement only, the

Action is hereby preliminarily certified as a class action on behalf of the following

Settlement Classes

      The AT&T 1 Settlement Class consists of:

      [A]ll living persons in the United States whose AT&T 1 Data Elements
      were included in the AT&T 1 Data Incident.

PRELIMINARY APPROVAL ORDER                                                   Page 2 of 19
Case 3:24-md-03114-E     Document 44     Filed 06/20/25   Page 3 of 19   PageID 289




Excluded from the AT&T 1 Settlement Class are (a) AT&T, any entity in which

AT&T has a controlling interest, and AT&T’s officers, directors, legal

representatives, successors, subsidiaries, and assigns; (b) any judge, justice, or

judicial officer presiding over this Action, and the members of their immediate

families and judicial staff; (c) any persons who have Released Claims relating to the

AT&T 1 Data Incident and/or the AT&T 1 Action prior to Final Approval; and (d)

any persons who timely opt out of the AT&T 1 Settlement Class.

      The AT&T 2 Settlement Class is defined as:

      AT&T Account Owners or Line or End Users whose AT&T 2 Data
      Elements were involved in the AT&T 2 Data Incident.

Excluded from the AT&T 2 Settlement Class are (a) AT&T, any entity in which

AT&T has a controlling interest, and AT&T’s officers, directors, legal

representatives, successors, subsidiaries, and assigns; (b) any judge, justice, or

judicial officer presiding over this Action, and the members of their immediate

families and judicial staff; (c) any persons who have Released Claims relating to the

AT&T 2 Data Incident and/or the AT&T 2 Action prior to Final Approval; and (d)

any persons who timely opt-out of the AT&T 2 Settlement Class.

      2.     Settlement Class Findings: The Court finds, for purposes of

settlement only, and without any adjudication on the merits, that the prerequisites

for certifying the Action as a class action under Federal Rules of Civil Procedure



PRELIMINARY APPROVAL ORDER                                                 Page 3 of 19
Case 3:24-md-03114-E     Document 44      Filed 06/20/25   Page 4 of 19    PageID 290



23(a), 23(b)(3), and 23(e) have been satisfied, and that the Court will likely certify

at the Final Approval stage the Settlement Classes.

      3.     As to Rule 23(a), the Court finds that: (a) the number of Settlement

Class Members is so numerous that joinder is impracticable; (b) there are questions

of law and fact common to the Settlement Classes; (c) the claims of the proposed

Class Representatives are typical of the claims of the Settlement Classes; and (d) the

proposed Class Representatives and Class Counsel have and will fairly and

adequately represent the interests of the Settlement Classes.

      4.     As to Rule 23(b)(3), the Court finds that questions of law and fact

common to the Settlement Classes predominate over any questions affecting

individual members. Also, a class action is superior to other available methods for

fairly and efficiently adjudicating the Action taking into consideration: (i) the lack

of evidence of any intent among the Settlement Class Members to individually

control the prosecution of separate actions; (ii) the small value of the claims of many

of the individual Settlement Class Members making the pursuit of individual actions

cost prohibitive for most Settlement Class Members; and (iv) the similarity of the

Settlement Class Members’ claims involving substantially identical proofs. See Fed.

R. Civ. P. 23(b)(3).

      5.     Preliminary Approval of the Settlement: The Court hereby

preliminarily approves the Settlement, as embodied in the Agreement, as being fair,



PRELIMINARY APPROVAL ORDER                                                   Page 4 of 19
Case 3:24-md-03114-E        Document 44   Filed 06/20/25   Page 5 of 19    PageID 291



reasonable, and adequate, and in the best interest of the named Plaintiffs and the

Settlement Classes, subject to further consideration at the Final Approval Hearing to

be conducted as described below. The Court finds the Agreement meets the

considerations set forth in Rule 23(e)(2) and the Fifth Circuit’s Reed factors.

      6.     Pursuant to Fed. R. Civ. P. 23(e), the terms of the Settlement Agreement

(and the Settlement provided for therein) are preliminarily approved and likely to be

approved at the Final Approval Hearing because:

      (A)the class representatives and class counsel have adequately
         represented the Settlement Classes;
      (B) the proposal was negotiated at arm’s length;
      (C) the relief provided for the class is fair, reasonable, and adequate,
         taking into account:
         (i) the costs, risks, and delay of trial and appeal;
         (ii) the effectiveness of any proposed method of distributing relief
         to the class, including the method of processing class-member
         claims;
         (iii) the terms of any proposed award of attorneys’ fees, including
         timing of payment; and
         (iv) any agreement made in connection with the proposal; and
      (D) the proposal treats class members equitably relative to each other.

Fed. R. Civ. P. 23(e)(2).

      7.     The Court also preliminarily finds the Settlement is fair, reasonable,

and adequate considering the factors set forth in Reed v. Gen. Motors Corp., 703

F.2d 170, 172 (5th Cir. 1983): (1) existence of fraud or collusion behind the

settlement; (2) complexity, expense, and likely duration of the litigation; (3) stage

of the proceedings and the amount of discovery completed; (4) probability of



PRELIMINARY APPROVAL ORDER                                                  Page 5 of 19
Case 3:24-md-03114-E      Document 44     Filed 06/20/25    Page 6 of 19    PageID 292



plaintiffs’ success on the merits; (5) range of possible recovery; and (6) opinions of

class counsel, class representatives, and absent class members. The last Reed factor

is best addressed after the Settlement Class Members receive Notice of the

Settlement.

      8.      Settlement Funds: The Settlement provides for two non-reversionary

Settlement Funds consisting of: (a) $149,000,000 in cash for the benefit of the AT&T

1 Settlement Class; and (b) $28,000,000 in cash for the benefit of the AT&T 2

Settlement Class. The Settlement Funds will be used to pay for each class’ respective

Settlement Class Member Benefits; Settlement Administration Costs; any Court-

approved attorneys’ fees and costs to Class Counsel; and any Court-approved

Service Awards to Plaintiffs for serving as Class Representatives. The Settlement

Funds will be created and funded subject to the terms of the Settlement.

      9.      Appointment of Class Representatives and Class Counsel: The

Court hereby finds and concludes pursuant to Fed. R. Civ. P. 23(a)(4), and for

purposes of settlement only, that Plaintiffs are adequate class representatives and

appoints them as Class Representatives for the Settlement Classes.

      10.     In appointing class counsel, Federal Rule of Civil Procedure 23(g)

requires the Court to consider (1) the work counsel have done in identifying or

investigating potential claims in the action, (2) counsel’s experience in handling

class actions, other complex litigation, and the types of claims asserted in the action,



PRELIMINARY APPROVAL ORDER                                                    Page 6 of 19
Case 3:24-md-03114-E      Document 44      Filed 06/20/25    Page 7 of 19    PageID 293



(3) counsel’s knowledge of applicable law, and (4) the resources counsel will

commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). The Court may also

consider any other matter pertinent to counsel’s ability to represent the class. Fed.

R. Civ. P. 23(g)(1)(B). The Court finds that proposed Class Counsel and their law

firms have expended a reasonable amount of time, effort, and expense investigating

the Data Incidents. It is clear from their track records of success, as outlined in their

resumes, that Class Counsel are highly skilled and knowledgeable concerning class

action practice. For purposes of the Settlement only, and pursuant to Federal Rule of

Civil Procedure 23(g)(1), the Court appoints the following individuals to act on

behalf of the Settlement Classes with respect to the Settlement: Mark Lanier, Chris

Seeger, Shauna Itri, Jean Martin, James Cecchi, and Sean Modjaard as AT&T 1

Class Counsel, and J. Devlan Geddes, Raph Graybill, John Heenan, Jeff Ostrow, and

Jason S. Rathod of Migliaccio & Rathod LLP as AT&T 2 Class Counsel.

      11.    Settlement Administrator: Class Counsel are authorized to use Kroll

Settlement Administration, LLC as the Settlement Administrator to perform the

Settlement Administrator’s duties as set out in the Settlement, including to supervise

and administer the Notice Program and oversee the Claims Process, as well as to

administer the Settlement should the Court grant Final Approval.

      12.    Approval of Notice Program and Notices: The Court approves, as to

form and content, the Notice Program, including the Email Notice, Reminder Notice,



PRELIMINARY APPROVAL ORDER                                                     Page 7 of 19
Case 3:24-md-03114-E     Document 44      Filed 06/20/25   Page 8 of 19    PageID 294



Postcard Notice, Publication Notice, and Long Form Notice substantially in the

forms attached as exhibits to the Agreement. Non-substantive changes may be made

to the Notices by agreement of Parties without further order of this Court. The Court

finds that the Notice Program: (a) is the best notice practicable under the

circumstances; (b) constitutes notice that is reasonably calculated, under the

circumstances, to apprise Settlement Class Members of the pendency of the Action,

the terms of the Settlement, the effect of the proposed Settlement (including the

Releases contained therein), and their right to opt-out of or to object to the proposed

Settlement and appear at the Final Approval Hearing; (c) constitutes due, adequate,

and sufficient notice to all persons entitled to receive notice of the proposed

Settlement; and (d) satisfies the requirements of Federal Rule of Civil Procedure 23,

due process, the rules of this Court, and all other applicable law and rules. The date

and time of the Final Approval Hearing shall be posted on the Settlement Website

and included in the Notices before they are emailed, mailed, or published.

      13.    Claim Form and Claims Process: The Court approves the Claim Form

as set forth in the Settlement, and the Claims Process to be implemented by the

Settlement Administrator. The Claim Form is straightforward and easy to complete,

allowing each Settlement Class Member to elect the alternative Settlement Class

Member Benefits. Should the Court grant Final Approval of the Settlement,

Settlement Class Members who do not opt-out of the Settlement shall be bound by



PRELIMINARY APPROVAL ORDER                                                   Page 8 of 19
Case 3:24-md-03114-E     Document 44     Filed 06/20/25   Page 9 of 19   PageID 295



its terms even if they do not submit Claims.

      14.    Dissemination of Notice and Claim Forms: The Court directs the

Settlement Administrator to disseminate the Notices and Claim Form as approved

herein. Class Counsel and AT&T’s counsel are hereby authorized to use all

reasonable procedures in connection with approval and administration of the

Settlement that are not materially inconsistent with this order or the Settlement,

including making, without the Court’s further approval, minor form or content

changes to the Notices and Claim Form they jointly agree are reasonable or

necessary.

      15.    Opt-Outs from the Settlement Classes: The Notice shall provide that

any member of a Settlement Class who wishes to opt-out from the Settlement Class

must request exclusion in writing within the time and manner set forth in the Notice.

The Notices shall provide that opt-out requests must be sent to the Settlement

Administrator and Class Counsel and be postmarked no later than October 17, 2025

(the Opt-Out deadline). The letter requesting to opt-out must include (a) the

Settlement Class Member’s full legal name; (b) the Settlement Class Member’s

address, all AT&T telephone number(s) and current telephone number, and current

email address; (c) the identity of the Settlement Class Member’s counsel, if

represented; (d) a handwritten “wet” signature of the Settlement Class Member; (e)

the name and number of the case; (f) if the individual is a former AT&T customer,



PRELIMINARY APPROVAL ORDER                                                 Page 9 of 19
Case 3:24-md-03114-E     Document 44      Filed 06/20/25    Page 10 of 19     PageID 296



the Settlement Class Member’s AT&T account number(s) or an attestation that the

former customer is unable to obtain their AT&T account number(s); and (g) a

statement clearly indicating the individual wishes to be excluded from a Settlement

Class for the purposes of the Settlement. Requests to opt-out must be made on an

individual basis and request exclusion only for that one individual whose personal

signature appears on the request; “mass,” “class,” or other purported group opt-outs,

or opt-outs signed by counsel, are not permitted and are not effective. Any individual

in the Settlement Classes who does not timely and validly request to opt-out shall be

bound by the terms of Agreement even if he or she does not submit a Valid Claim,

and even if he or she has pending, or subsequently initiates, litigation, arbitration, or

any other proceeding against AT&T relating to the Released Claims. Individuals in

the Settlement Classes who timely and validly opt-out of the Settlement do not

release their individual claims and will not obtain any benefits under the Settlement.

      16.    Objections to the Settlement: The Notice shall also provide that any

Settlement Class Member who does not opt-out from the Settlement Classes may

object to the Settlement and/or the Applications for Attorneys’ Fees, Costs, and

Service Awards. Objections must be mailed to the Clerk of the Court and filed on

the Court’s docket and mailed to the Settlement Administrator, Class Counsel, and

AT&T’s Counsel. For an objection to be considered by the Court, the objection must

be submitted on behalf of a Settlement Class Member no later than October 17, 2025



PRELIMINARY APPROVAL ORDER                                                    Page 10 of 19
Case 3:24-md-03114-E     Document 44     Filed 06/20/25    Page 11 of 19     PageID 297



(the Objection Deadline). When submitted by mail, an objection shall be deemed to

have been submitted when posted if received with a postmark date indicated on the

envelope if mailed first-class postage prepaid and addressed in accordance with the

instructions. If submitted by private courier (e.g., Federal Express), an objection

shall be deemed to have been submitted on the shipping date reflected on the

shipping label. Any Settlement Class Member who does not make their objections

in the manner and by the date set forth in the Agreement shall be deemed to have

waived any objections and shall be forever barred from raising such objections in

this or any other action or proceeding, absent further order of the Court.

        17.   For an objection to be considered by the Court, the objection must also

set forth:

                 a.   the objector’s full name, mailing address, all AT&T telephone

number(s), current telephone number; and for former AT&T customers all AT&T

account number(s), and email address (if any) or an attestation that the former

customer is unable to obtain their AT&T account number(s) or email address (if

any);

                 b. all grounds for the objection, accompanied by any legal

support for the objection known to the objector or objector’s counsel;

                 c.   the number of times the objector has objected to a class action

settlement within the five years preceding the date that the objector files the



PRELIMINARY APPROVAL ORDER                                                   Page 11 of 19
Case 3:24-md-03114-E     Document 44      Filed 06/20/25    Page 12 of 19    PageID 298



objection, the caption of each case in which the objector has made such objection,

and a copy of any orders related to or ruling upon the objector’s prior objections

that were issued by the trial and appellate courts in each listed case;

                 d. the identity of all counsel who represent the objector, including

(1) any former or current counsel who may be entitled to compensation for any

reason related to the objection to the Settlement and/or Application/s for Attorneys’

Fees, Costs, and Service Awards; (2) a description of the counsel’s legal

background and prior experience in connection with class action litigation; (3) a

statement regarding whether fees to be sought will be calculated on the basis of a

lodestar, contingency, or other method; (4) an estimate of the amount of fees to be

sought; (5) the factual and legal justification for any fees to be sought; (6) the

number of hours already spent by the counsel; and (7) an estimate of the hours to

be spent in the future; and the attorney’s hourly rate.

                 e.   the number of times in which the objector’s counsel and/or

counsel’s law firm have objected to a class action settlement within the five years

preceding the date of the filed objection, the caption of each case in which counsel

or the firm has made such objection and a copy of any orders related to or ruling

upon counsel’s or the counsel’s law firm’s prior objections that were issued by the

trial and appellate courts in each listed case in which the objector’s counsel and/or

counsel’s law firm have objected to a class action settlement within the preceding



PRELIMINARY APPROVAL ORDER                                                   Page 12 of 19
Case 3:24-md-03114-E      Document 44     Filed 06/20/25    Page 13 of 19    PageID 299



five years;

                 f.   the identity of all counsel (if any) representing the objector who

will appear at the Final Approval Hearing;

                 g. four dates between the deadline for objections and a date two

weeks before the Final Approval Hearing, during which the objector is available to

be deposed by counsel for the Parties;

                 h. a list of all persons who will be called to testify at the

Final Approval Hearing in support of the objection (if any);

                 i.   a statement confirming whether the objector intends to

personally appear and/or testify at the Final Approval Hearing; and

                 j.   the objector’s signature (an attorney’s signature is not

sufficient).

Class Counsel and/or AT&T’s Counsel may conduct limited discovery, including

taking depositions, on any objector or objector’s counsel, including taking

depositions.

       18.     Motion for Final Approval and Application/s for Attorneys’ Fees,

Costs, and Service Awards: Class Counsel intend to seek an award of up to one-

third of their respective Settlement Funds as attorneys’ fees, as well as

reimbursement of reasonable litigation costs, and Service Awards for the Class

Representatives in the amount of $1,500.00 each to be paid from the respective



PRELIMINARY APPROVAL ORDER                                                       Page 13 of 19
Case 3:24-md-03114-E     Document 44     Filed 06/20/25    Page 14 of 19    PageID 300



Settlement Funds. These amounts appear reasonable, but the Court will defer ruling

on those awards until the Final Approval Hearing when considering Class Counsel’s

Application/s for Attorneys’ Fees, Costs, and Service Awards.

      19.    Class Counsel shall file their Motion for Final Approval and

Application/s for Attorneys’ Fees, Costs, and Service Awards no later than October

3, 2025. At the Final Approval Hearing, the Court will hear argument on Class

Counsel’s request for attorneys’ fees and costs and Service Awards for the Class

Representatives. In the Court’s discretion, the Court also will hear argument at the

Final Approval Hearing from any Settlement Class Members (or their counsel) who

object to the Settlement or to the Application(s) for Attorneys’ Fees, Costs, and

Service Awards, provided the objector(s) submitted timely objections that meet all

of the requirements listed in the Settlement and in this order.

      20.    Termination: If the Settlement is terminated, not approved, canceled,

fails to become effective for any reason, or the Effective Date does not occur, this

order shall become null and void and shall be without prejudice to the rights of

Plaintiffs, the Settlement Class members, and AT&T, all of whom shall be restored

to their respective positions in the Action as provided in the Agreement.

      21.    Stay: All pretrial proceedings in this Action are stayed and suspended

until further order of this Court, except such actions as may be necessary to

implement the Settlement and this Preliminary Approval Order.



PRELIMINARY APPROVAL ORDER                                                  Page 14 of 19
Case 3:24-md-03114-E     Document 44     Filed 06/20/25    Page 15 of 19    PageID 301



      22.    Upon the entry of this order, with the exception of Class Counsel’s,

AT&T’s Counsel’s, AT&T’s, and the Class Representatives’ implementation of the

Settlement and the approval process in this Action, all members of the Settlement

Classes, shall be provisionally enjoined and barred from asserting any claims or

initiating or continuing in any litigation or arbitration against AT&T and/or the

Released Parties arising out of, relating to, or in connection with the Released Claims

prior to the Court’s decision as to whether to grant Final Approval of the Settlement.

      23.    Jurisdiction: For the benefit of the Settlement Classes and to protect

this Court’s jurisdiction, this Court retains continuing jurisdiction over the

Settlement proceedings to ensure the effectuation thereof in accordance with the

Settlement preliminarily approved herein and the related orders of this Court.

      24.    Final Approval Hearing: The Court will hold a Final Approval

Hearing on Wednesday, December 3, 2025, at 9:00 a.m. The Final Approval

Hearing will be conducted for the following purposes: (a) to finally determine

whether the proposed Settlement, on the terms and conditions provided for in the

Settlement, is fair, reasonable, and adequate, and should be approved by the Court;

(b) to determine whether an order of Final Judgment should be entered dismissing

the Action on the merits and with prejudice; (c) to determine whether the proposed

plan of allocation and distribution of the Settlement Fund is fair and reasonable and

should be approved; (d) to determine whether any requested award of attorneys’ fees



PRELIMINARY APPROVAL ORDER                                                  Page 15 of 19
Case 3:24-md-03114-E      Document 44   Filed 06/20/25   Page 16 of 19    PageID 302



and costs to Class Counsel and Service Awards to the Class Representatives should

be approved; and (e) to consider any other matters that may properly be brought

before the Court in connection with the Settlement. The Court may elect to hold the

Final Approval Hearing virtually by Zoom or some other application, and if it does,

the instructions on how to attend shall be posted by the Settlement Administrator on

the Settlement Website.




        (This space left blank intentionally; order continues on next page).




PRELIMINARY APPROVAL ORDER                                                Page 16 of 19
Case 3:24-md-03114-E      Document 44    Filed 06/20/25      Page 17 of 19   PageID 303



      25.    Schedule: The Court hereby sets the following schedule of events:

                     Event                                    Deadline

   Class Lists delivered to Settlement      June 30, 2025
   Administrator

   Notice Program Commencement              August 4, 2025

   Notice Program Complete                  October 17, 2025

   Deadline to file Motion for Final        October 3, 2025
   Approval and Application/s for
   Attorneys’ Fees, Costs, and Service
   Awards

   Opt-Out Deadline                         October 17, 2025

   Objection Deadline                       October 17, 2025

   Reminder Email Deadline                  October 29, 2025

   Deadline to Respond to Objections        November 18, 2025

   Deadline to Submit Claim Forms           November 18, 2025

   Final Approval Hearing                   Wednesday, December 3, 2025, at 9:00
                                            a.m., Central Standard Time




        (This space left blank intentionally; order continues on next page).




PRELIMINARY APPROVAL ORDER                                                   Page 17 of 19
Case 3:24-md-03114-E      Document 44          Filed 06/20/25    Page 18 of 19    PageID 304



      26.    The Court further acknowledges the following scheduled events as

agreed by the Parties:

                     Event                                          Deadline

   Last day for AT&T to fund the initial
   portion of the AT&T 1 Escrow Account          July 3, 2025
   and the AT&T 2 Escrow Account.

   Last day for AT&T to provide Plaintiffs
   with a confidential written attestation
                                                 July 18, 2025
   outlining steps to further secure
   customer information.

   Final Report of Settlement
   Administrator regarding the number of
                                             October 22, 2025
   written requests for exclusions and other
   items.

   Last day for Defendants to notify Class
   Counsel and the Court of their intent to
   terminate this Agreement if a specified       October 31, 2025
   number of Settlement Class members
   opt-out of the Settlement

   Deadline to reply claim deficiency letter     November 18, 2025, or 20 days from date
   and provide requested information.            Notice of Deficiency sent, whichever is
                                                 later

   Settlement Administrator to provide           November 21, 2025
   report summarizing number and
   breakdown of claims.

   Settlement Administrator to provide           November 26, 2025
   declaration regarding results of Notice
   Program.




        (This space left blank intentionally; order continues on next page).




PRELIMINARY APPROVAL ORDER                                                        Page 18 of 19
Case 3:24-md-03114-E    Document 44   Filed 06/20/25   Page 19 of 19   PageID 305



        27.   Before the Court is Movants Osa Massen, Audrey Jones, and Susan

Savala’s Motion to Intervene and in Opposition to Preliminary Approval of Class

Action Settlement. (ECF No. 297). The Court has reviewed this Motion to Intervene

and determined that it should be denied at this time—without prejudice. (ECF No.

297).


        SO ORDERED this 20th day of June, 2025.




                              Ada E. Brown
                              UNITED STATES DISTRICT JUDGE




PRELIMINARY APPROVAL ORDER                                             Page 19 of 19
